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                             UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF GEORGIA
                                   WAYCROSS DIVISION


DR. MAHENDRA AMIN, M.D.,

                   Plaintiff,                             Case No. 5:21-cv-00056-LGW-BWC

       v.                                                 DEFENDANT’S OPPOSITION TO
                                                          PLAINTIFF’S MOTION TO
NBCUNIVERSAL MEDIA, LLC,                                  COMPEL

                   Defendant.




       In his Motion to Compel discovery from Defendant NBCUniversal Media LLC

(“Defendant”), Plaintiff Dr. Mahendra Amin (“Plaintiff”) insists that he is not engaging in a

“fishing expedition.” See Mot. at 10. But the broad-reaching discovery that Plaintiff asks this

Court to order—including searching the email boxes of at least eleven additional custodians on

top of the twenty-three that Defendant previously searched and scouring emails from the last three

years to try to find anything that Plaintiff believes might reflect on Defendant’s state of mind in

September 2020—belies his assertion. On the eve of the close of discovery and recognizing the

weakness of his case, Plaintiff is simply grasping at straws to find something that can bolster his

claim—even if it has no logical nexus to the challenged statements or the individuals responsible

for them. Defendant has already produced the documents relevant to this action. In short,

Plaintiff’s eleventh-hour demand would prolong discovery and would generate documents having

no relevance to this action. It is not a question of admissibility; Plaintiff seeks plainly irrelevant

documents. The Court should not condone Plaintiff’s tactics, and his Motion should be denied.

                                         BACKGROUND

       Because the procedural history of this case is directly relevant to the discovery requests
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discussed in Plaintiff’s Motion, Defendant briefly recounts this history here.

    I.      Plaintiff Files The Initial Complaint In This Action

         This case stems from a complaint initially filed by Plaintiff on September 9, 2021, see Dkt.

1 (the “Initial Complaint”). The very first paragraph of the Initial Complaint explained that it arose

from “a series of MSNBC broadcast segments,” Compl. ¶ 1, and identified these segments as

appearing in: (1) the September 15, 2020 episode of “Deadline: White House” with Nicolle

Wallace; (2) the September 15, 2020 episode of “All In” with Chris Hayes; (3) the September 16,

2020 episode of “All In” with Chris Hayes; (4) the September 16, 2020 episode of “The Rachel

Maddow Show”1; and (5) the September 17, 2020 episode of “All In” with Chris Hayes, id. ¶ 2

(collectively, the “News Reports”).          Each of the News Reports discussed a whistleblower

complaint, which alleged that Plaintiff performed unnecessary or unconsented-to gynecological

procedures on detainees at the Irwin County Detention Center. The Initial Complaint enumerated

specific statements from each of the News Reports that Plaintiff claimed were defamatory. See id.

¶¶ 76-80.

         Despite the fact that MSNBC published the News Reports in September 2020 and Plaintiff

was clearly aware of them—indeed, his lawyer was contacted by and provided comment to

MSNBC journalists—Plaintiff raised no concern with the Reports until almost a full year later, on

August 26, 2021. At this time, Plaintiff’s counsel sent a letter to Defendant requesting that it

retract the News Reports.2 Defendant refused to do so.

         After the Initial Complaint was filed, Defendant sent a litigation hold notice to seventeen




1
 Plaintiff’s counsel subsequently clarified that this was actually the September 15, 2020 episode of “The Rachel
Maddow Show.”
2
 Despite ultimately suing over the September 17, 2020 episode of “All In,” this News Report is not mentioned in
Plaintiff’s August 26, 2021 letter.



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employees that Defendant believed may have documents related to the claims in this action. In

the following weeks, as Defendant conducted interviews with various employees and learned more

about the five challenged News Reports, Defendant sent litigation hold notices to an additional

four employees. Notably, however, because NBCU’s document retention policy provides for the

automatic deletion of emails after sixty days (unless the emails are archived by an individual or

that individual is otherwise on a litigation hold) and because Plaintiff did not contact Defendant

about the challenged News Reports until nearly a year after they were published, many of the

documents relevant to this litigation had already been automatically deleted.

   II.      Discovery Begins But Is Promptly Stayed Pending Defendant’s Motion For
            Judgment On The Pleadings

         On January 10, 2022, Defendant filed a Rule 12(c) motion for judgment on the pleadings

in this action, arguing that this case should be dismissed in its entirety. See Dkt. 24. On January

21, 2022, Defendant filed a motion to stay all discovery pending the Court’s ruling on the Rule

12(c) motion. See Dkt. 31. While Defendant’s motion to stay was pending, on February 14, 2022,

Plaintiff served an initial set of document requests, which Defendant responded to on March 16,

2022. On April 19, 2022, prior to the production of any documents in this action, the Court granted

Defendant’s motion to stay and stayed all discovery in this action pending the Court’s ruling on

the Rule 12(c) motion. See Dkt. 43.

         Meanwhile, following oral argument on Defendant’s Rule 12(c) motion, Plaintiff filed an

amended complaint. See Dkt. 49 (the “FAC”). The FAC, now the operative complaint in this

action, again asserted that this case arose from the same five challenged News Reports, claiming

“MSNBC began publishing false and defamatory statements about Dr. Amin on September 15,

2020 and continued to do so through at least September 17, 2020,” see FAC ¶ 74, and enumerating

the challenged statements from these five News Reports, see FAC ¶¶ 75, 78, 81, 84, 86. After the



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FAC was filed, Defendant again moved for judgment on the pleadings, arguing that Plaintiff’s new

allegations did not alter the conclusion that he had not—and could not—state a defamation claim.

See Dkt. 52.

           On November 16, 2022, the Court issued an order granting in-part and denying in-part

Defendant’s motion. See Dkt. 59. In so doing, the Court dismissed from this action all statements

stemming from the September 16 episode of “All In,” all statements except one stemming from

the September 17 episode of “All In,” and select statements from the September 15 episode of

“Deadline: White House.”

    III.      Defendant Undertakes A Significant Search For And Production Of Documents

           Following the Court’s ruling on the Rule 12(c) motion, discovery in this action began in

earnest. Throughout this process, as Defendant collected and reviewed documents and spoke with

its employees, it learned of additional individuals who may have documents relevant to the claims

and defenses in this action. Defendant promptly sent litigation hold notices to two additional

individuals and, if Defendant believed that they had non-duplicative, relevant documents, it also

searched for documents from them.

           Ultimately, Defendant searched for documents from twenty-three custodians: Julia

Ainsley, Jacob Soboroff, Mark Schone, Rich Greenberg, Chris Hayes, Denis Horgan, Brendan

O’Melia, Rawan Jabaji, Tina Cone, Diane Shamis, Alexander Price, Luciana Lopez, Rachel

Maddow, Cory Gnazzo, Kelsey Desiderio, Nicolle Wallace, Patrick Burkey, Cort Harson, Regina

Donizetti, Christoper Scholl, Steve Thode, Mary Lockhart, and Betsy Korona.3


3
  In her Declaration, Ms. Evans claims that Defendant “sent a litigation hold for some custodians without searching
their documents, searched for some custodians without sending them a litigation hold, and did not send a litigation
hold nor search the documents for some individuals who appear to have relevant discoverable information.” Evans
Decl. ¶ 19. Taking each of these accusations in turn, Defendant sent a litigation hold notice to certain individuals who
Defendant believed may have relevant documents. But, upon communications with its employees about this action,
Defendant learned that it was unlikely that certain low-level employees would have any documents that were non-
duplicative of the more senior producers whose documents Defendant searched. Defendant did not communicate a


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          This list includes the on-air talent, the executive producer, and the senior producers for

each of the challenged News Reports, as well as the segment producers from “All In” who were

conducting independent reporting and whose emails, therefore, may not have been captured by the

search of more senior employees. The list also includes two NBC journalists who published an

article on NBCNews.com prior to the challenged News Reports (the “NBC News Article”), as well

as their editors and supervisors. While the NBC News Article is not challenged in this litigation,

because it served as a key source for the challenged News Reports, Defendant produced any

documents showing the newsgathering and vetting of the Article. Finally, the list includes three

individuals from “Standards”—a group of employees who review Defendant’s reporting to ensure

that it meets the company’s high journalistic standards. As discussed in further detail below, the

Standards employees whose emails were searched were the only Standards employees responsible

for reviewing the challenged News Reports or the NBC News Article.

          Since its initial document production on January 10, 2023, Defendant has produced over

3,800 pages of documents.

    IV.      Plaintiff Does Not Challenge Defendant’s Production Until One Month Before
             The Close Of Discovery

          Throughout discovery, and as Plaintiff knew, Defendant has limited its email production

to emails relating to the five challenged News Reports, which aired from September 15-17, 2020,

including documents relating to the NBC News Article that served as a source for the News

Reports. Documents unrelated to these News Reports would not only be irrelevant to the claims

and defenses in this action but would constitute Defendant’s privileged newsgathering material.




litigation hold to certain individuals whose documents were searched because those individuals were no longer with
the company at the relevant time. The documents that were preserved at the time those individuals left the company
were searched. Finally, as explained in detail in this brief, Plaintiff has not identified anyone who may have
information relevant to this case whose documents were not preserved or searched.


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Until the issues were raised in connection with this Motion, at no time during the intervening

months did Plaintiff’s counsel challenge this limitation (despite the fact that, as evidenced by Ms.

Evans’s Declaration, she clearly knew about other MSNBC news reports and countless other news

reports that discussed Plaintiff).

         On June 5, 2023, Plaintiff served his third requests for documents, which specifically

sought scripts and draft scripts “reviewed by Standards” and “all other documents regarding such

reviews.” Defendant objected to this request, explaining that it understood the request to call for

scripts or draft scripts for the challenged News Reports, which had already been produced.

Nonetheless, Plaintiff insisted that he was entitled to all scripts for any show that were sent to any

member of NBCU’s Standards department.

         After the parties could not reach agreement about the proper scope of production, Plaintiff

raised this issue with the Court, which held a preliminary conference on August 31, 2023.

Following that conference, in an attempt to compromise with Plaintiff, Defendant offered to

produce communications from the inboxes of Christoper Scholl, Steve Thode, and Mary

Lockhart—the only Standards employees with potential relevance to the challenged News

Reports—discussing scripts or draft scripts from unchallenged news reports between September

15-17, 2020. Plaintiff rejected this offer. Notably, Plaintiff’s Motion all but ignores this offer.

This Motion follows.

                                           ARGUMENT

    I.      The Documents Plaintiff Seeks Are Largely Irrelevant To The Question Of Actual
            Malice

         The only justification that Plaintiff proffers for his belated and expansive discovery

requests is that the sought-after documents may be relevant to the issue of “actual malice.” See

Mot. at 5. Plaintiff concedes he shoulders the burden of establishing actual malice because the



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challenged statements were made “in good faith as part of an act in furtherance of . . . the entity’s

right of petition of free speech.” See Murray v. Cmty. Health Sys., 345 Ga. App. 279, 288 (Ga.

App. Ct. 2018) (explaining that statements made in “good faith” are privileged but the privilege

can be negated “by showing that [the speaker] acted with actual malice”).

       Actual malice means that “the defendant[] published a defamatory statement either with

actual knowledge of its falsity or with a ‘high degree of awareness’ of its ‘probable falsity.’”

Berisha v. Lawson, 973 F.3d 1304, 1312 (11th Cir. 2020) (quoting Garrison v. Louisiana, 379

U.S. 64, 74 (1964)). Notably, as the U.S. Supreme Court has explained, when the defendant is a

news organization, actual malice must be “brought home to the persons in the . . . organization

having responsibility for the publication.” N.Y. Times Co. v. Sullivan, 376 U.S. 254, 287 (1964).

Of particular relevance here, in Sullivan, the Court held that the presence of stories in The New

York Times’ files that contradicted a challenged advertisement could not establish actual malice

because these stories were not connected to the individuals responsible for the advertisement. See

id. at 287-88.

       This requirement of “homing” actual malice to the individuals responsible for the

challenged publication has been repeated time and time again by courts throughout the country.

See Blankenship v. NBCUniversal, LLC, 60 F.4th 744, 762 (4th Cir. 2023) (affirming grant of

summary judgment in defamation action stemming from reference to plaintiff as a “felon” because

the record failed to identify who in the news organization was responsible for the scripted language

and “actual malice must be brought home to the persons responsible for the publication”); Donald

J. Trump for President, Inc. v. CNN Broadcasting, Inc., 500 F. Supp. 3d 1349 (N.D. Ga. 2020)

(dismissing defamation action based on lack of actual malice when plaintiff failed to connect

specific CNN staff members who expressed bias toward the plaintiff to the challenged article);




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Mejia v. Telemundo Mid-Atlantic LLC, 440 F. Supp. 3d 495, 502 (D. Md. 2020) (dismissing

defamation action based on text in on-screen banner when the complaint contained no factual

allegations that the person specifically in charge of the banner acted with actual malice); Dongguk

University v. Yale University, 873 F. Supp. 2d 460, 465 (D. Ct. 2012) (holding that “when the

defendant is an organization, a plaintiff must prove that a particular agent or employee of the

defendant acted with actual malice at the time that agent or employee participated in the

publication of the statement in question; an organizational defendant is not charged with the

collective knowledge of all its agents and employees for purposes of the actual malice inquiry”),

aff’d, 734 F.3d 113 (2d Cir. 2013).4

             a. The Individuals From Whom Plaintiff Seeks Documents Are Not Relevant To
                The Actual Malice Inquiry

        In his Motion, Plaintiff seeks discovery from a list of over thirty-four individuals who

Plaintiff claims were “among the decisionmakers” of Defendant’s decision to publish the

statements at issue in this lawsuit, “appear in correspondence with such decisionmakers,” or “are

members of the Standards team that may have reviewed scripts or been involved in discussions

thereof.” Mot. at 2. This expansive description itself highlights the breadth of Plaintiff’s request.

And examining the individuals included on Plaintiff’s list whose emails were not previously

searched by Defendant only underscores this point.

        Take, for example, Casey Dolan. In September 2020, Dolan was an executive producer on

the MSNBC program “Live with Hallie Jackson.”                       According to documents produced by

Defendant, at 6:00 am on September 15, 2020, Dolan sent an article from The Guardian entitled


4
  Plaintiff attempts to distinguish Sullivan and its progeny by noting that the procedural posture in these cases is
different than the present discovery motion. See Mot. at 8-9. But this does not change the fact that Sullivan’s
requirement to bring home allegations of actual malice is controlling in this action and limits the scope of relevant
documents to those involving individuals responsible for the challenged News Reports. Plaintiff has provided no
foundation that the additional individuals he now seeks discovery from were responsible for the publication of the
challenged News Reports.


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“ICE detainees faced medical neglect and hysterectomies, whistleblower alleges,” to Betsy Korona

(MSNBC’s executive director of news) and Catherine Corrigan (an MSNBC coordinating

producer) asking whether NBC News reporters Julia Ainsley and Jacob Soboroff (who had long

reported on immigration issues for NBC News) were looking into this issue. Korona added

Soboroff and Ainsley to the email, who explained that they had spoken to the lawyer for the

whistleblower and would be speaking to the whistleblower later that day. Dolan responded that

she “wouldn’t want to touch [the story]” without further context from Soboroff and Ainsley and

merely wanted to put it on their radar. Because this email reflected Soboroff’s and Ainsley’s

newsgathering for the NBC News Article, Defendant produced it to Plaintiff. But there is no

evidence that Dolan spoke with anyone working on the challenged News Reports or that she had

any other involvement, including any substantive involvement in the NBC News Article. Dolan

has no relevance to the actual malice inquiry.

         Daniella Silva is similarly situated. In September 2020, Silva was a reporter for NBC

News. In the early afternoon of September 15, 2020, Silva updated an Associated Press article

about the whistleblower complaint (which NBC News had previously published) in order to add

information from the whistleblower’s press conference that morning. Neither the Associated Press

article nor Silva’s update is challenged in this action. As Julia Ainsley testified, in order to be

“courteous” to Silva, Ainsley “weaved” into the NBC News Article some of the material from

Silva’s previous article, see Ainsley Tr. at 153:11-19,5 and gave her the third byline on the Article.

Just as is the case for Dolan, there is no evidence that Silva spoke with anyone who worked for

“Deadline: White House,” “All In,” or “The Rachel Maddow Show.” Thus, any knowledge that

Silva had is likewise irrelevant to the question of whether those actually responsible for the


5
 Following Plaintiff’s lead, Defendant has not attached copies of deposition transcripts or documents to this Brief
but would be happy to provide anything to the Court upon request.


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challenged News Reports acted with actual malice.

         In addition, most of the remaining individuals from whom Plaintiff now seeks discovery

are members of Defendant’s Standards team. But Plaintiff’s Motion entirely mischaracterizes how

Standards works. Standards is not a monolith. It is a team of individual employees who review

NBCU’s reporting to ensure that it is accurate, fair, and transparent. Each day, the Standards team

will call for review of stories on certain subjects, and reporters across NBCU’s platforms can either

send stories to the Standards Distribution List email address (which automatically sends the email

to every member of the Standards team)6 or directly to one of the employees. As has been

explained during depositions, because individual members of Standards may be more familiar with

certain topics, when stories on these topics are sent to the Distribution List, the Standards

employees will often coordinate behind the scenes to determine who is going to review them. Each

story or script is assessed in its own context, considering the relevant sources and facts particular

to that publication. Thus, comments that a Standards employee provides on a script for one

MSNBC news report may be entirely irrelevant to another news report on the same subject since

each MSNBC program writes its own scripts.

         From the outset of the case, Defendant understood through speaking with its reporters that

Christopher Scholl—then the deputy head of Standards—was the individual primarily responsible

for reviewing the NBC News Article. Because the NBC News Article served as a key source for

the challenged News Reports, Scholl’s email box was searched for responsive documents at the

outset of discovery. And his involvement was confirmed through emails produced to Plaintiff,

which show that he began working with Jacob Soboroff and Julia Ainsley early in the afternoon


6
  Plaintiff asks Defendant to search the Standards Distribution List email for responsive emails in this action. But
because this Distribution List simply routes emails to all members of the Standards team, it is not a searchable inbox.
In addition, the Distribution List is dynamic—individuals can be added and removed from it. Accordingly, it is not
possible for Defendant to isolate the precise individuals who were on the Distribution List in September 2020.



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on September 15, 2020 and continued to work with them for hours until he felt comfortable with

the Article and it was published. See NBCU003427 (email from Scholl to Soboroff dated

September 15, 2020 at 1:09 pm). While, at one point, Scholl indicated that he was going to be

stepping away from his computer for the night and intended to pass off the review of the Article

to Mary Lockhart (another member of the Standards team), emails revealed and Scholl testified

that this never actually happened. See Scholl Tr. at 83:6-9 (“My guess is I simply made the call,

after I tried to push it off my plate, to stay involved.”). Nonetheless, Defendant searched for

documents from Lockhart’s email box as well.

        In addition to Scholl, discovery revealed that Steve Thode, another member of the

Standards team, reviewed some of the challenged News Reports. Once this became clear,

Defendant searched for emails from Thode. Other than Scholl and Thode, there is no evidence

that any other member of the Standards team had any responsibility for the challenged News

Reports or the NBC News Article; nor did they review the News Reports.7 Indeed, when Plaintiff’s

counsel specifically asked Scholl about other members of the Standards team, he repeatedly

testified that, to the best of his recollection, they were not involved “in the review or discussions

regarding Irwin County Detention Center stories.” See Scholl Tr. at 22:3-24 (testifying that Marian

Porges, Susan Sullivan, and Robin Gradison had no involvement in Irwin County Detention Center

stories that he could recall).

        In his Motion, Plaintiff references emails that directed MSNBC producers to send scripts

about the whistleblower complaint to Jason Cumming. See Mot. at 11. What Plaintiff neglects to

mention, however, is that the first of these emails was not sent until late in the evening on



7
 Plaintiff claims that there is a member of the Standards team included on Defendant’s privilege log whose emails
were not preserved or searched. See Mot. at 11. It is unclear who Plaintiff is referring to here. The only members of
Standards who appear on the privilege log are Chris Scholl and Steve Thode.


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September 15, 2020—after the September 15, 2020 episodes of “Deadline: White House,” “All

In,” and “The Rachel Maddow Show” had already aired—and directed scripts to be sent to

Cumming beginning at 2:00 am. And Cumming clearly was not responsible for reviewing the

September 16 and 17, 2020 “All In” scripts. Documents produced in discovery and entries on

Defendant’s privilege log make clear that it was Chris Scholl who did so. See, e.g., NBCU000689

(email sending September 16 “All In” script to Scholl). Thus, the fact that Cumming may have

been reviewing scripts for unchallenged news reports on other MSNBC programs is inapposite.

       Said differently, during the August 31 conference, this Court analogized the scope of

discovery to “spokes” and “hubs.” See Pl. Ex. 2 at 41:18-42:7. While the Court explained that it

would be proper to seek discovery from “hubs”—i.e., individuals who touched the challenged

news reports—because their state of mind may be relevant to actual malice, the Court explained

that discovery should not be sought from “spokes”—i.e., Defendant’s employees who operated

distinctly from the challenged News Reports. Under the Court’s analogy, Chris Scholl and Steve

Thode—the two Standards employees who actually reviewed the challenged News Reports or the

NBC News Article—are the only two employees from Standards who can be considered “hubs.”

And, after the August 31 conference, Defendant offered to search for and produce communications

between them (or Mary Lockhart) and the employees for other, unchallenged MSNBC programs

that occurred between September 15 and 17, 2020—an offer that Plaintiff rejected.

       All of the other individuals in Standards who did not work on the challenged News Reports

or the NBC News Article (but may have reviewed other reporting from other MSNBC shows) are

“spokes.” For example, if hypothetically Jason Cumming reviewed a script from “The Beat with

Ari Melber” and obtained information that called into question the veracity of the allegations made

therein, this would be irrelevant to actual malice under Sullivan because Cumming’s knowledge




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would not have been transferred to any of the individuals responsible for the challenged News

Reports. This is analogous to the contradictory news articles in the Times files that were irrelevant

to actual malice in Sullivan. The fact that Cumming is a member of the Standards team does not

change this conclusion. Similarly, any independent reporting that Melber’s show may have

conducted concerning the whistleblower complaint is unrelated to the reporting done for the

challenged News Reports. And to the extent there is overlap in the reporting because multiple

shows relied upon the NBC News Article, documents showing the newsgathering for that Article

have already been produced.

       In a last-ditch effort to lay the foundation for his broad-reaching discovery requests,

Plaintiff asserts that “Standards and others expressed concerns regarding Dr. Amin and ICDC

stories.” Mot. at 7. But “Standards” as a whole did not express “concerns regarding Dr. Amin

and ICDC stories.” To the contrary, at 1:24 pm on September 15, 2020, Chris Scholl sent an email

in which he expressed a “concern” about reporting on an interview Jacob Soboroff conducted with

the whistleblower without doing further independent reporting. Rich Greenberg and Betsy Korona

(both of whose email boxes were also searched) said that they shared this concern. Even before

Scholl’s email, and over the course of the next four hours, Soboroff and Julia Ainsley conducted

the independent reporting that Scholl suggested—they spoke with four lawyers who had clients at

the Irwin County Detention Center who had been treated by Plaintiff and who provided

corroboration for certain allegations in the whistleblower complaint. In addition, Soboroff and

Ainsley located a 2013 Department of Justice complaint that was filed against Plaintiff, which

accused him of billing Medicare and Medicaid for unnecessary gynecological procedures. This

complaint was ultimately settled for $500,000 by the hospital that Plaintiff’s company managed.

And Soboroff and Ainsley contacted Plaintiff’s medical office for comment, as well as




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Immigration and Customs Enforcement, and the private company that ran the Irwin County

Detention Center.     Given this additional reporting, Scholl testified that he was “entirely

comfortable” with the story at the time it was published. See Scholl Tr. at 41:12-20; see also id.

at 58:17-19 (“I was absolutely comfortable with the reporting of the story as it ran and was

published.”); 174:10-14 (“The reporting we did was absolutely solid . . . and, in fact, when I look

at this stuff, I really look at this and say, ‘This is an exact example of the way journalism should

work.’”). And emails demonstrate that before the Article was published, Korona similarly

believed that they had a “much fuller picture” on the story. See NBCU002600. Thus, to the extent

that any “concern” existed, it was completely addressed by the time the NBC News Article was

published—before all of the challenged News Reports. And even if this “concern” could lay the

foundation for further discovery requests, the only relevant individuals—Scholl, Greenberg, and

Korona—already had their emails searched.

       At bottom, Defendant has already produced or agreed to produce the only documents that

could be relevant to actual malice in this case under the standard set in Sullivan. Plaintiff’s

expansive remaining discovery requests should thus be denied.

           b. Documents After The Date Of The Challenged News Reports Are Not
              Relevant To The Actual Malice Inquiry

       In his Motion, Plaintiff also claims that Defendant should be required to search for and

produce documents from the thirty-four-plus custodians through the present date because it is

theoretically possible that there is an email from someone at some point in which they state that

they “never believed there were mass hysterectomies,” which would be relevant to their state of

mind at the time of the challenged News Reports. See Mot. at 12. But Plaintiff has not laid a

foundation that any such information exists; this is rank speculation.

       The best that Plaintiff can muster is that it is possible that after the United States Senate



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released an investigative report about Irwin County Detention Center in November 2022—which

found that between 2017 and 2020 Plaintiff conducted two hysterectomies (more than any other

gynecologist for ICE detainees), referred two other women for hysterectomies, appeared to subject

female detainees to “excessive, invasive, and often unnecessary gynecological procedures,”

personally performed “more than 90% of particular OB-GYN procedures when compared to the

entire ICE detention network across the United States” even though Irwin County Detention Center

“housed just 4% of the female population,” and “accounted for almost one-third . . . of the total

procedures performed by OB-GYN providers on ICE detainees”—Chris Scholl could have stated,

“this is why I had concerns.” Mot. at 13. But Scholl testified that he was not even aware that this

Senate report was published. See Scholl Tr. at 169:20-24 (“Q: Were you aware that the report that

came out of those hearing said that . . . Congress was unable to substantiate the claims of mass or

large numbers of hysterectomies? A: I’m not aware of it.”). And other of Defendant’s reporters

who indicated that they were aware of the Senate report testified that it did not cause them to doubt

the September 2020 news reports. See Hayes Tr. at 76:6-16 (“And the general feeling that I had

gotten from our reporting the first time around was that this was a story not specifically about

hysterectomies but invasive or unnecessary or unconsented to procedures being done on women,

procedures, broadly, without their full informed consent. The report did not definitively knock

down that concern, given the data that’s reflected . . . .”); Price Tr. at 195:5-21 (Q: My question

was: The Senate report that has since come out that said it couldn’t substantiate the allegations

regarding the number of hysterectomies also did not lead you to believe that [the whistleblower

complaint] was less credible; is that right? A: In 2020? Q: Right now. A: “Oh, right now? Again,

no. Because if they – if they found that . . . these hysterectomies had not happened, then they

would have said that. They said they could not substantiate.”).




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         Given that there is no foundation for Plaintiff’s request, the burden and expense of

searching through dozens of email boxes for any email from the last three years that might reflect

on the custodian’s state of mind in September 2020—a process that Defendant estimates would

take at least one month—is entirely unwarranted. Indeed, even this Court recognized as much,

noting in the August 31 conference, in the context of draft scripts that post-dated the news reports:

         I have a very difficult time envisioning how any draft script that was generated or
         considered after the broadcast[s] . . . would bear on either truth or falsity or actual
         malice, and to the extent that they would at all, for example maybe a draft script
         that would sort of cast some historical documentation, I find that value would be
         nominal, if any, to demonstrating either of those facts, and at this point, I wouldn’t
         find those after-report scripts would be discoverable because I don’t see any
         likelihood of that production leading to discoverable information.

Pl. Ex. 2 at 30:14-31:2. The Court’s initial inclination was correct. Defendant should not be

required to conduct this extensive search for documents that, if they even exist (a highly unlikely

proposition), could have “nominal” value at best.

   II.      Plaintiff Cannot Rely On Twitter Posts To Justify His Document Requests

         In his Motion, Plaintiff also attempts to rely on unidentified Twitter postings as a

foundation for his broad document requests. See Mot. at 8. But this is improper for two reasons.

         First, this case is not—and has never been—about Tweets. This was abundantly clear in

the Initial Complaint and remained clear in the FAC, which states in the very first paragraph: “This

Complaint arises from a series of MSNBC broadcast segments that contain multiple false and

defamatory statements of and concerning a private figure, Dr. Mahendra Amin, M.D. . . . ” See

FAC ¶ 1 (emphasis added). The FAC goes on to define the “broadcasts” as the five challenged

News Reports, see id. ¶ 2, and refers to these “broadcasts” countless times throughout the pleading.

While there is one paragraph mentioning Twitter posts, see FAC ¶ 89 (“MSNBC and its reporters

repeated their false and defamatory statements of and concerning Dr. Amin on Twitter on at least




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three occasions on September 16, 2020 and September 22, 2020.”), Plaintiff does not actually

identify these Twitter posts, the statements supposedly repeated, or explain on whose accounts

they appear. And, in fact, there are Twitter accounts for MSNBC generally and each of its

programs, and its reporters also have personal Twitter accounts that are not run by Defendant.

       In addition, discovery in this case has been focused on the News Reports, not Tweets.

While Plaintiff’s counsel insists that she asked Chris Hayes about Tweets during his deposition,

Mot. at 8, Plaintiff’s counsel asked him about two Twitter posts and a Facebook post from the “All

In” accounts, which were dated September 17 and September 21, 2020. It thus appears that these

are not even the posts vaguely referenced in the FAC. And while Plaintiff notes that Chris Hayes

testified that “he had reviewed Twitter posts as part of his preparation for his deposition,” id., he

did not specify what those Twitter posts were or whether they were even associated with an

MSNBC account. He merely stated that they “were tweets that were in the discovery.” See Hayes

Tr. at 240:21-241:1. The fact that Hayes reviewed some unidentified Tweets as part of his

preparation for a deposition does not in any way evidence Plaintiff’s “prosecution” of claims

stemming from Tweets.

       Second, to the extent Plaintiff uses these supposed Twitter posts as a reason to obtain

additional emails from Standards, Chris Scholl testified that Standards does not even review

Tweets. See Scholl Tr. at 258:1-3 (“People tweet on their own. Some shows tweet. We don’t

look at tweets.”); 258:7-8 (“Q: Okay. I’m referring to – there were some tweets from MSNBC

and some tweets from particular shows, as I recall. A: Yeah, we don’t – we don’t review those as

a matter of course.”). Thus, there is no nexus between anyone from Standards and the unspecified

Twitter posts that have never been a real basis for Plaintiff’s claims.




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   III.      Plaintiff Should Not Be Awarded Attorneys’ Fees

          Finally, Plaintiff claims that Federal Rule of Civil Procedure 37(a)(5)(A) entitles him to

fees for bringing this Motion. But, even if the Court grants Plaintiff’s Motion—and it should not—

awarding fees would be unjust. Defendant attempted, in good faith, to compromise with Plaintiff

by offering to produce any communications about scripts or draft scripts between the only three

Standards employees that in any way touched the challenged News Reports or the NBC News

Article—Chris Scholl, Steve Thode, and Mary Lockhart—and other MSNBC programs that pre-

dated the challenged News Reports. This aligned with the Court’s “spoke” and “hub” analysis

presented at the August 31 conference. Plaintiff rejected this request and instead demanded that

Defendant run searches across eleven additional individuals with no demonstrated relevance to

this action. Defendant should not be punished for following the Court’s August 31 instruction by

refusing to turn over documents that the Court appeared to indicate were not subject to discovery.

                                           CONCLUSION

          For the foregoing reasons, Defendant respectfully requests that the Court deny Plaintiff’s

Motion to Compel.

Dated: September 29, 2023

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